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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

Lisa Shepherd,                             )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )     No. 1:10-cv-1396-JMS-DML
                                           )
Prince-Parker Associates, Inc., a          )
North Carolina corporation,                )
                                           )
       Defendant.                          )

                                 NOTICE OF VOLUNTARY
                               DISMISSAL WITH PREJUDICE

       Plaintiff, pursuant to F.R.C.P. Rule 41, hereby stipulates to the dismissal of her

claims against the Defendant, with prejudice.

Dated: February 25, 2011

One of Plaintiff's Attorneys

/s/ David J. Philipps_______
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                             CERTIFICATE OF SERVICE

I hereby certify that on February 25, 2011, a copy of the foregoing Notice of Voluntary
Dismissal with Prejudice was filed electronically. Notice of this filing will be sent to
the following parties by operation of the Court’s electronic filing system. Parties may
access this filing through the Court’s system.

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